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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


                                                      :
MIA CASTRO, M.D., HEIDI BOULES, M.D,                  :        CIVIL ACTION NO.
ASHLEY ELTORAI, M.D., JODI-ANN                        :        3:20-cv-00330-JBA
OLIVER, M.D., LORI-ANN OLIVER, M.D.,                  :
AND ELIZABETH REINHART, M.D.                          :
                  PLAINTIFFS                          :
                                                      :
v.                                                    :
                                                      :
YALE UNIVERSITY, YALE NEW HAVEN                       :        FEBRUARY 22, 2021
HOSPITAL, INC., AND MANUEL LOPES                      :
FONTES, M.D.                                          :
                  DEFENDANTS                          :

            JOINT 26(f) REPORT OF PARTIES’ PLANNING MEETING

Date Complaint Filed: March 12, 2020

Date Operative Complaint Filed: January 4, 2021

Date Complaint Served: Waiver of Service filed March 20, 2020 as to defendant, Yale
                       University

Date of Defendants’ Appearance: Yale University: March 30, 2020
                                Manuel Lopes Fontes, M.D.: March 13, 2020
                                Yale New Haven Hospital: April 6, 2020

       Pursuant to Fed. R. Civ. P. 16(b), 26(f) and D. Conn. L. Civ. R. 16, a telephone

conference was held on February 17, 2021. The participants were:

              -   Tanvir Rahman, Esq. for plaintiffs, Mia Castro, M.D., Heidi Boules, M.D.,
                  Ashley Eltorai, M.D., Jodi-Ann Oliver, M.D., Lori-Ann Oliver, M.D., and
                  Elizabeth Reinhart, M.D.;
              -   Patrick M. Noonan, Esq. for defendant, Yale University;
              -   Pro se defendant, Manuel Lopes Fontes, M.D. (Dr. Fontes called in, but
                  stated that he felt unable to participate in the absence of counsel and
                  therefore dropped off the call before any substantive discussion was held.

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                   Dr. Fontes was sent this Report before it was filed and invited to propose
                   any changes hereto.);
               -   Kasia Preneta, Esq. for defendant, Yale New Haven Hospital.

I.     CERTIFICATION

       Undersigned counsel (after consultation with their clients) certify that (a) they have

discussed the nature and basis of the parties’ claims and defenses and any possibilities for

achieving a prompt settlement or other resolution of the case; and (b) they have developed

the following proposed case management plan. Counsel further certify that they have

forwarded a copy of this report to their clients.

II.    JURISDICTION

       A.      Subject Matter Jurisdiction

       This Court has subject matter jurisdiction over plaintiffs’ federal law claims pursuant to

Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681 et seq and Title VII of the

Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq. The Court has supplemental jurisdiction

over plaintiffs’ Connecticut Fair Employment Practices Act (“CFEPA”) claims and tort

claims against Defendant Fontes pursuant to 28 U.S.C. § 1367(a).

       B.      Personal Jurisdiction

       Personal jurisdiction is not contested.

III.   BRIEF DESCRIPTION OF CASE

       A.      Claims of Plaintiffs:

       The plaintiffs, Mia Castro, M.D., Heidi Boules, M.D., Ashley Eltorai, M.D., Jodi-Ann

Oliver, M.D., Lori-Ann Oliver, M.D. and Elizabeth Reinhart, M.D., allege that the

defendants deprived them of their rights under Title IX, Title VII and the CFEPA. All six



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plaintiffs claim that they were sexually harassed by defendant, Manuel Lopes Fontes, M.D.,

and that, although they complained of Dr. Fontes’ sexual harassment, Yale University and

Yale New Haven Hospital failed to investigate and take corrective action, and have fostered

an environment in which discriminatory and harassing practices are allowed to persist. Dr.

Eltorai also claims that she was subjected to retaliation for her complaint of sexual

harassment in violation of Title IX, Title VII, and the CFEPA.1 In addition, Dr. Eltorai

alleges that the defendants discriminated against her based upon her pregnancy and then

retaliated against her for registering a pregnancy discrimination complaint.

         B.       Defenses and Claims (Affirmative Defenses, Counterclaims, Third Party
                  Claims, Cross Claims) (either pled or anticipated) of Defendants:

         Defendant, Yale University, denies all of the plaintiffs’ claims. Yale University did not

discriminate against the plaintiffs; they properly followed all of the University’s procedures

in addressing the allegations made by the plaintiffs.

         As noted above, Dr. Fontes did not participate in the conference, stating he was

uncomfortable doing so in the absence of counsel. He was invited to propose changes to this

Report by its filing. Dr. Fontes replied to the proposed changes of this report by stating that

he- as Yale University- also denies all material allegations in the plaintiffs’ operative

complaint and he will assert defenses to the plaintiffs’ false claims as set forth in his

Response to the Second Amended Complaint or to be proven at trial. Also consistent with

YNHH, Dr. Fontes reserves his right to provide additional or other defenses, or to remove or




1 On February 9, 2021, the Court dismissed Dr. Castro’s retaliation and discrimination claims under Title IX
and Title VII. The parties have filed a stipulation to the withdrawal of Dr. Castro’s retaliation claim under the
CFEPA.


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withdraw defenses, and to add other claims as they become necessary after reasonable

opportunity for discovery.

        Defendant, Yale New Haven Hospital, denies all material allegations in the plaintiffs’

operative complaint and will assert defenses to the plaintiffs’ claims as set forth in its

Response to the Second Amended Complaint or to be proven at trial. Defendant Yale New

Haven Hospital, Inc. reserves the right to add additional or other defenses, or to delete or

withdraw defenses, and to add other claims as they become necessary after reasonable

opportunity for discovery.

        C.      Defenses and Claims of Third-Party Defendants: N/A

IV.     STATEMENT OF UNDISPUTED FACTS

        Counsel certify that they have made a good faith attempt to determine whether there

are any material facts that are not in dispute and were unable to agree to any undisputed facts

at this time.

V.      CASE MANAGEMENT PLAN

        A.      Initial Disclosures

         The parties request that they be excused from complying with the Initial Discovery

Protocols for Employment Cases Alleging Adverse Action (“IDPs”). All parties have already

exchanged discovery requests and responses, which include information and documents per

the IDPs. Consistent with Fed. R. Civ. P. 1, the parties make this request in an effort to arrive

at “just, speedy, and inexpensive determination” of this action, in order to avoid making

multiple document searches for the same material. Yale University and YNHH agree to

produce any insurance agreement under which an insurance business may be liable to satisfy



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all or a part of a possible judgment in this action or to indemnify or reimburse for payments

made to satisfy the judgments.

       B.     Scheduling Conference

              1.      The parties request to be excused from holding a pretrial conference

                      with the Court before entry of a scheduling order pursuant to Fed. R.

                      Civ. P. 16(b).

              2.      The parties prefer that a scheduling conference, if one is required, be

                      conducted by telephone.

       C.     Early Settlement Conference

              1.      The parties certify that they have considered the potential benefits of

                      attempting to settle the case before undertaking significant discovery

                      or motion practice. Settlement is unlikely at this time.

              2.      The parties do not request an early settlement conference.

              3.      If and when a settlement conference is held, the parties prefer a

                      settlement conference with a Magistrate Judge.

              4.      The parties do not request a referral for alternative dispute resolution

                      pursuant to D. Conn. L. Civ. R. 16.

       D.     Joinder Of Parties, Amendment Of Pleadings, And Motions Addressed
              To The Pleadings

       The parties have discussed any perceived defects in the pleadings and have reached

the following agreements for resolution of any issues related to the sufficiency of the

pleadings.

              1.      Plaintiffs should be allowed until February 24, 2021 to file motions to



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                      join additional parties and to file motions to amend the pleadings.

               2.     Defendants should be allowed until March 8, 2021 to file a response to

                      the second amended complaint, or any amended complaint. Motions to

                      join additional parties or to respond to the complaint filed after the

                      foregoing dates will require, in addition to any other requirements

                      under the applicable rules, a showing of good cause for the delay.

       E.      Discovery

       Recognizing that the precise contours of the case, including the amounts of damages

at issue, if any, may not be clear at this point in the case, in making the proposals below

concerning discovery, the parties have considered the scope of discovery permitted under

Fed. R. Civ. P. 26(b)(1). At this time, the parties wish to apprise the Court of the following

information regarding the “needs of the case:”

               1.     The parties anticipate that discovery will be needed on all factual

       allegations of the operative Complaint and the Plaintiffs’ damages claims.

               2.     The parties have already exchanged initial discovery requests. Written

       discovery, including ESI, to be completed by June 2, 2021.

               3.     Discovery will be conducted in phases, with document discovery first

       followed by fact witness depositions, which in turn will be followed by expert disclosure

       and depositions of expert witnesses.

               4.     The information required under Rule 26(a)(1)(A)(iii) will be provided by

       any party seeking damages before the first deposition of any kind is conducted.

               5.     The parties anticipate that the plaintiffs will require a total of 10

       depositions of fact witnesses and that the defendants will require a total of 8-15

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     depositions of fact witnesses. The depositions of fact witnesses will commence by

     June 9, 2021 and be completed by October 1, 2021.

            6.      The parties do not request permission to serve more than 25

     interrogatories upon each plaintiff or each defendant.

            7.      Plaintiffs will designate all trial experts and provide opposing counsel

     with reports from retained experts pursuant to Fed. R. Civ. P. 26(a)(2) no later than

     October 15, 2021. Depositions of any such experts will be completed no later than

     December 22, 2021.

            8.      In the event Plaintiffs designate any trial experts, Defendants will

     designate all trial experts and provide opposing counsel with reports from retained

     experts pursuant to Fed. R. Civ. P. 26(a)(2) no later than January 31, 2022.

     Depositions of such experts will be completed no later than March 1, 2022.

            9.      Undersigned counsel have discussed the disclosure and preservation of

     electronically stored information, including, but not limited to, the form in which

     such data shall be produced, search terms to be applied in connection with the

     retrieval and production of such information, the location and format of electronically

     stored information, appropriate steps to preserve electronically stored information,

     and the allocation of costs of assembling and producing such information. The parties

     agree to the following procedures for the preservation, disclosure and management of

     electronically stored information:

                    a.     Plaintiffs shall take reasonable steps to retain, until the
                           conclusion of this lawsuit, all documents, as that term is
                           defined in D. Conn. L. Civ. R. 26, concerning or relating to the
                           allegations of the Complaint, that are in Plaintiffs’ possession,
                           custody or control, for the time period commencing two years

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                                  prior to the filing of the Complaint and continuing through and
                                  including the date of trial.

                          b.      Defendants shall take reasonable steps to retain, until the
                                  conclusion of this lawsuit, all documents, as that term is
                                  defined in D. Conn. L. Civ. R. 26, concerning or relating to the
                                  allegations of the operative Complaint, that are in Defendants’
                                  possession, custody or control, for the time period commencing
                                  two years prior to the filing of the original Complaint and
                                  continuing through and including the date of trial.2

                 10.      Undersigned counsel have discussed discovery procedures that

         minimize the risk of waiver of privilege or work-product protection, including

         procedures for asserting privilege claims after production. The parties agree to the

         following procedures for asserting claims of privilege after production:

                          a.      If electronically stored information is produced in discovery
                                  and is subject to a claim of privilege or of protection as trial
                                  preparation material, the party making the claim may notify
                                  any party that received the information of the claim and the
                                  basis for it. After being notified, a party must promptly
                                  sequester the information and any copies it has and may not
                                  use or disclose the information until the claim is resolved. If
                                  the receiving party does not dispute the producing party’s
                                  claim of privilege or work product, the receiving party shall
                                  promptly return the information or destroy it. If the receiving
                                  party disputes the privilege or work product claim, it may
                                  promptly present the information to the Court under seal for a
                                  determination of the claim, or the receiving party may inform
                                  the producing party in writing that it disputes the claim. The
                                  producing party may then promptly move the Court for an
                                  Order to return the electronically stored information. If the
                                  receiving party disclosed the information before being notified,
                                  it must take reasonable steps to retrieve it. The producing party
                                  must preserve the information until the claim is resolved.



2 Plaintiffs will also be seeking, and hereby put Defendants on notice of their intent to seek, documents and
information concerning or relating to the allegations of the operative complaint in Defendants’ possession,
custody, or control for the time period commencing January 1, 2015 to the present and not merely from two
years prior to the filing of the original complaint.


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       F.      OTHER SCHEDULING ISSUES

       Not applicable.

       G.      SUMMARY JUDGMENT MOTIONS

       Summary judgment motions, which must comply with Local Rule 56, will be filed no

later than 60 days after the completion of all discovery.

       H.      JOINT TRIAL MEMORANDUM

       The joint trial memorandum required by the Standing Order on Trial Memoranda in

Civil Cases will be filed within 45 days of the ruling on dispositive motions, should such

motions be filed, or within 45 days after the parties notify one another that dispositive

motions will not be filed.

VI.    TRIAL READINESS

       The case will be ready for trial within 30 days of the filing of a joint trial

memorandum.

As officers of the Court, undersigned counsel agree to cooperate with each other and the

Court to promote the just, speedy and inexpensive determination of this action.



Plaintiffs, Mia Castro, M.D., Heidi Boules, M.D.,
Ashley Eltorai, M.D., Jodi-Ann Oliver, M.D.,
Lori-Ann Oliver, M.D. and Elizabeth Reinhart, M.D.

By: /s/ Tanvir Rahman, Esq.                           Date: February 22, 2021
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Defendant, Yale University

By:/s/Patrick M. Noonan               _        Date: February 22, 2021
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Defendant, Manuel Lopes Fontes, M.D.

By:/s/ Manuel Lopes Fontes, M.D.               Date: February 22, 2021
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Defendant, Yale New Haven Hospital

By:/s/ Sarah R. Skubas                         Date: February 22, 2021
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